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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 VIRNETX INC., LEIDOS, INC.,                        §
                                                    §
                                                    §   CIVIL ACTION NO. 6:12-CV-00855-RWS
                 Plaintiffs,                        §
                                                    §
 v.                                                 §
                                                    §
 APPLE INC.,                                        §
                                                    §
                 Defendant.                         §


                                              ORDER
        On this date, the Court entered its Order on the pending post-trial motions under seal. To

 maintain the general public interest in the disclosure of court records, the Court plans to file an
       .
 unsealed version no later than September 10, 2018. Following a meet and confer, the parties may

 file a joint sealed motion to redact limited portions of the order no later than September 6, 2018.

 The parties shall request as few redactions as possible and provide “sufficiently compelling reasons

 that override the public policies favoring disclosure.” See S.E.C. v. Van Waeyenberghe, 990 F.2d

 845, 848 (5th Cir. 1993); Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1221 (Fed. Cir. 2013).

 The parties shall attach to their motion the Court’s post-trial Order with the proposed redactions.


          So ORDERED and SIGNED this 30th day of August, 2018.




                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE
